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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK
               RAPAPORT USA, INC.,
                                                                   Case No. 1:25-cv-00171-JSR
                                                     Plaintiff,
                                                                   NOTICE OF APPEAL
                                   -against-

               NIVODA USA LLC,

                                                   Defendant.

                        PLEASE TAKE NOTICE that plaintiff Rapaport USA, Inc., hereby appeals to the

              United States Court of Appeals for the Second Circuit from an order granting the defendant’s

              motion to dismiss with prejudice, dated and entered April 10, 2025, [Doc. No. 32].


              Dated: April 25, 2025

                                                   FIRESTONE GREENBERGER PLLC
                                                   Attorneys for Plaintiff-Appellant

                                                   _/s/ Jordan Greenberger_
                                                   Jordan Greenberger, Esq.
                                                   Michael Firestone, Esq.
                                                   14 Penn Plaza, 9th Floor
                                                   New York, NY 10122
                                                   (212) 597-2255
                                                   jg@firegreenlaw.com
(2 of 6), Page 2 of 6         Case: 25-1065, 04/25/2025, DktEntry: 1.1, Page 2 of 6

                                                                                                      APPEAL,ECF
                                              U.S. District Court
                                 Southern District of New York (Foley Square)
                               CIVIL DOCKET FOR CASE #: 1:25−cv−00171−JSR

              Rapaport USA, Inc. v. Nivoda USA LLC et al                  Date Filed: 01/08/2025
              Assigned to: Judge Jed S. Rakoff                            Jury Demand: Plaintiff
              Cause: 17:101 Copyright Infringement                        Nature of Suit: 820 Copyright
                                                                          Jurisdiction: Federal Question
              Plaintiff
              Rapaport USA, Inc.                           represented by Gili Karev
                                                                          Klaris Law
                                                                          430 West 14th Street
                                                                          New York, NY 10014
                                                                          347−326−2305
                                                                          Email: gili.karev@klarislaw.com
                                                                          ATTORNEY TO BE NOTICED

                                                                         Michael Joseph Firestone
                                                                         Firestone Greenberger PLLC
                                                                         14 Penn Plaza
                                                                         Ste 9th Floor
                                                                         New York, NY 10122
                                                                         212−597−2255
                                                                         Email: MFirestone@Firestonelawpllc.com
                                                                         ATTORNEY TO BE NOTICED

                                                                         Jordan Daniel Greenberger
                                                                         Firestone Greenberger PLLC
                                                                         14 Penn Plaza
                                                                         225 West 34th Street
                                                                         Ste 9th Floor
                                                                         New York, NY 10122
                                                                         212−597−2255
                                                                         Email: jg@firegreenlaw.com
                                                                         ATTORNEY TO BE NOTICED


              V.
              Defendant
              Nivoda USA LLC                               represented by Matthew Aaron Leish
                                                                          Klaris Law
                                                                          161 Water Street
                                                                          Suite 904
                                                                          New York, NY 10038
                                                                          646−779−4882
                                                                          Email: matthew.leish@klarislaw.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                         Gili Karev
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

              Defendant
              Nivoda Limited                               represented by Gili Karev
              TERMINATED: 02/06/2025                                      (See above for address)
                                                                          ATTORNEY TO BE NOTICED

              Defendant
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              David Sutton                                     represented by Gili Karev
              TERMINATED: 02/06/2025                                          (See above for address)
                                                                              ATTORNEY TO BE NOTICED


               Date Filed   #     Docket Text
               01/08/2025    1 COMPLAINT against NIVODA LIMITED, NIVODA USA LLC, David Sutton.
                               (Filing Fee $ 405.00, Receipt Number ANYSDC−30430356)Document filed by
                               Rapaport USA, Inc...(Greenberger, Jordan) (Entered: 01/08/2025)
               01/08/2025    2 CIVIL COVER SHEET filed..(Greenberger, Jordan) (Entered: 01/08/2025)
               01/08/2025    3 AO 121 FORM COPYRIGHT − NOTICE OF SUBMISSION BY ATTORNEY. AO
                               121 Form Copyright for case opening submitted to court for review..(Greenberger,
                               Jordan) (Entered: 01/08/2025)
               01/08/2025    4 REQUEST FOR ISSUANCE OF SUMMONS as to NIVODA USA LLC, re: 1
                               Complaint. Document filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered:
                               01/08/2025)
               01/08/2025    5 REQUEST FOR ISSUANCE OF SUMMONS as to NIVODA LIMITED, re: 1
                               Complaint. Document filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered:
                               01/08/2025)
               01/08/2025    6 REQUEST FOR ISSUANCE OF SUMMONS as to David Sutton, re: 1 Complaint.
                               Document filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered: 01/08/2025)
               01/10/2025         CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is
                                  assigned to Judge Jed S. Rakoff. Please download and review the Individual Practices
                                  of the assigned District Judge, located at
                                  https://nysd.uscourts.gov/judges/district−judges. Attorneys are responsible for
                                  providing courtesy copies to judges where their Individual Practices require such.
                                  Please download and review the ECF Rules and Instructions, located at
                                  https://nysd.uscourts.gov/rules/ecf−related−instructions..(jgo) (Entered: 01/10/2025)
               01/10/2025         Magistrate Judge Robyn F. Tarnofsky is designated to handle matters that may be
                                  referred in this case. Pursuant to 28 U.S.C. Section 636(c) and Fed. R. Civ. P. 73(b)(1)
                                  parties are notified that they may consent to proceed before a United States Magistrate
                                  Judge. Parties who wish to consent may access the necessary form at the following
                                  link: https://nysd.uscourts.gov/sites/default/files/2018−06/AO−3.pdf. (jgo) (Entered:
                                  01/10/2025)
               01/10/2025         Case Designated ECF. (jgo) (Entered: 01/10/2025)
               01/10/2025         ***NOTICE TO ATTORNEY REGARDING CIVIL CASE OPENING
                                  STATISTICAL ERROR CORRECTION: Notice to attorney Jordan Daniel
                                  Greenberger. The following case opening statistical information was erroneously
                                  selected/entered: County code New York;. The following correction(s) have been
                                  made to your case entry: the County code has been modified to XX Out of State;.
                                  (jgo) (Entered: 01/10/2025)
               01/10/2025         ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice
                                  to attorney Jordan Daniel Greenberger. The party information for the following
                                  party/parties has been modified: NIVODA USA LLC; NIVODA LIMITED. The
                                  information for the party/parties has been modified for the following
                                  reason/reasons: party name was entered in all caps;. (jgo) (Entered: 01/10/2025)
               01/10/2025    7 ELECTRONIC SUMMONS ISSUED as to David Sutton..(jgo) (Entered: 01/10/2025)
               01/10/2025    8 ELECTRONIC SUMMONS ISSUED as to Nivoda Limited..(jgo) (Entered:
                               01/10/2025)
               01/10/2025    9 ELECTRONIC SUMMONS ISSUED as to Nivoda USA LLC..(jgo) (Entered:
                               01/10/2025)
               01/10/2025   10 AO 121 FORM COPYRIGHT − CASE OPENING − SUBMITTED. In compliance
                               with the provisions of 17 U.S.C. 508, the Register of Copyrights is hereby advised that
                               a court action has been filed on the following copyright(s) in the U.S. District Court
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                                Southern District of New York. Form e−mailed to Register of Copyrights..(jgo)
                                (Entered: 01/10/2025)
               01/14/2025   11 AFFIDAVIT OF SERVICE of Summons and Complaint. Nivoda USA LLC served on
                               1/13/2025, answer due 2/3/2025. Service was accepted by New York Secretary of
                               State. Document filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered:
                               01/14/2025)
               01/14/2025   12 NOTICE OF COURT CONFERENCE: Initial Conference set for 1/30/2025 at 11:00
                               AM before Judge Jed S. Rakoff. The dial−in information for the call will be as
                               follows: USA Toll−Free : (855) 244−8681; Access Code: 23174323257. SO
                               ORDERED (Signed by Judge Jed S. Rakoff on 1/14/2025) (ks) (Entered: 01/14/2025)
               01/21/2025   13 NOTICE OF APPEARANCE by Matthew Aaron Leish on behalf of Nivoda USA
                               LLC..(Leish, Matthew) (Entered: 01/21/2025)
               01/21/2025       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                held on 1/21/2025, without transcription or recording. Counsel for all parties was
                                present. The unopposed motion to adjourn the initial pretrial conference is hereby
                                granted. The initial pretrial conference will now be held on 2/3/2025 at 3:30 PM. The
                                dial−in information for the call will be as follows: USA Toll−Free : (855) 244−8681;
                                Access Code: 23174323257. SO ORDERED.( Telephone Conference set for 2/3/2025
                                at 03:30 PM before Judge Jed S. Rakoff.). (Kotowski, Linda) (Entered: 01/22/2025)
               01/22/2025   14 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent.
                               Document filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered: 01/22/2025)
               02/05/2025   15 NOTICE OF VOLUNTARY DISMISSAL pursuant to Rule 41(a)(1)(A)(i) of the
                               Federal Rules of Civil Procedure, the plaintiff(s) and or their counsel(s), hereby give
                               notice that the above−captioned action is voluntarily dismissed, without prejudice and
                               without costs against the defendant(s) Nivoda Limited, David Sutton. Document filed
                               by Rapaport USA, Inc.. Proposed document to be reviewed and processed by
                               Clerk's Office staff (No action required by chambers)...(Greenberger, Jordan)
                               (Entered: 02/05/2025)
               02/05/2025   16 CIVIL CASE MANAGEMENT PLAN: The Case is to be tried to a jury. Nivoda
                               Limited answer due 2/19/2025; Nivoda USA LLC answer due 2/19/2025; David
                               Sutton answer due 2/19/2025. Amended Pleadings due by 3/5/2025. Motions due by
                               5/29/2025. Responses due by 6/12/2025 Replies due by 6/19/2025. Deposition due by
                               5/15/2025. Discovery due by 5/15/2025. Oral Argument set for 6/26/2025 at 04:00 PM
                               before Judge Jed S. Rakoff. Final Pretrial Conference set for 6/26/2025 at 04:00 PM
                               before Judge Jed S. Rakoff. Ready for Trial by 6/30/2025. SO ORDERED (Signed by
                               Judge Jed S. Rakoff on 2/5/2025) (ks) (Entered: 02/05/2025)
               02/05/2025       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                held on 2/5/2025, ( Final Pretrial Conference set for 6/26/2025 at 04:00 PM before
                                Judge Jed S. Rakoff., Oral Argument set for 6/26/2025 at 04:00 PM before Judge Jed
                                S. Rakoff in courtroom 14B of 500 Pearl Street New York City, NY.). (Kotowski,
                                Linda) (Entered: 02/05/2025)
               02/06/2025       ***NOTICE TO COURT REGARDING NOTICE OF VOLUNTARY
                                DISMISSAL Document No. 15 Notice of Voluntary Dismissal was reviewed and
                                referred to Judge Jed S. Rakoff for approval for the following reason(s): the
                                plaintiff(s) filed their voluntary dismissal and it did not dismiss all of the parties
                                or the action in its entirety. (km) (Entered: 02/06/2025)
               02/06/2025   17 NOTICE OF PARTIAL VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P.
                               41(a)(1)(A)(i): Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil
                               Procedure, the plaintiff(s) RAPAPORT USA, INC. and or their counsel(s), hereby give
                               notice that the above−captioned action is voluntarily dismissed, without prejudice
                               against the defendant(s) NIVODA LIMITED (without prejudice), and DAVID
                               SUTTON (without prejudice), but not against defendant NIVOOA USA LLC. Does
                               not terminate the case against the remaining defendant. SO ORDERED (Signed by
                               Judge Jed S. Rakoff on 2/6/2025) Nivoda Limited and David Sutton terminated. (ks)
                               (Entered: 02/06/2025)
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               02/10/2025   18 FILING ERROR − DEFICIENT DOCKET ENTRY − FILER ERROR −
                               MOTION for Gili Karev to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                               ANYSDC−30590344. Motion and supporting papers to be reviewed by Clerk's
                               Office staff. Document filed by Rapaport USA, Inc.. (Attachments: # 1 Affidavit
                               Affidavit, # 2 Exhibit Certificate of Good Standing, # 3 Proposed Order Proposed
                               Order).(Karev, Gili) Modified on 2/10/2025 (rju). (Entered: 02/10/2025)
               02/10/2025       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                VICE. Notice to RE−FILE Document No. 18 MOTION for Gili Karev to Appear
                                Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−30590344. Motion
                                and supporting papers to be reviewed by Clerk's Office staff... The filing is
                                deficient for the following reason(s): Per attorney's request, motion was marked
                                deficient. Wrong party chosen.;. Re−file the motion as a Motion to Appear Pro
                                Hac Vice − attach the correct signed PDF − select the correct named filer/filers −
                                attach valid Certificates of Good Standing issued within the past 30 days − attach
                                Proposed Order.. (rju) (Entered: 02/10/2025)
               02/10/2025   19 MOTION for Gili Karev to Appear Pro Hac Vice . Motion and supporting papers to
                               be reviewed by Clerk's Office staff. Document filed by Nivoda USA LLC, Nivoda
                               Limited, David Sutton. (Attachments: # 1 Affidavit Affidavit, # 2 Proposed Order
                               Proposed Order, # 3 Exhibit Certificate of Good Standing).(Karev, Gili) (Entered:
                               02/10/2025)
               02/10/2025       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 19 MOTION for Gili Karev to Appear Pro Hac Vice . Motion and supporting
                                papers to be reviewed by Clerk's Office staff.. The document has been reviewed
                                and there are no deficiencies. (rju) (Entered: 02/10/2025)
               02/11/2025       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                held on 2/11/2025, without transcription or recording. Counsel for all parties was
                                present. The Court sets the following briefing schedule for the motion to dismiss.
                                Opening brief due 3/4/2025, answering brief due 3/25/2025, reply brief due 4/1/2025.
                                Oral argument on the motion to dismiss will be held on 4/7/2025 at 3 PM before Judge
                                Jed S. Rakoff in courtroom 14B of 500 Pearl Street, New York City, NY. SO
                                ORDERED.( Oral Argument set for 4/7/2025 at 03:00 PM before Judge Jed S.
                                Rakoff.). (Kotowski, Linda) (Entered: 02/11/2025)
               02/11/2025   20 ORDER FOR ADMISSION PROHAC VICE granting 19 Motion for Gili Karev to
                               Appear Pro Hac Vice. (Signed by Judge Jed S. Rakoff on 2/11/2025) (ks) (Entered:
                               02/11/2025)
               02/14/2025   21 NOTICE OF APPEARANCE by Michael Joseph Firestone on behalf of Rapaport
                               USA, Inc...(Firestone, Michael) (Entered: 02/14/2025)
               03/04/2025   22 MOTION to Dismiss . Document filed by Nivoda USA LLC. Responses due by
                               3/25/2025 Return Date set for 4/7/2025 at 03:00 PM..(Leish, Matthew) (Entered:
                               03/04/2025)
               03/04/2025   23 MEMORANDUM OF LAW in Support re: 22 MOTION to Dismiss . . Document filed
                               by Nivoda USA LLC..(Leish, Matthew) (Entered: 03/04/2025)
               03/04/2025   24 DECLARATION of Jessica Young in Support re: 22 MOTION to Dismiss ..
                               Document filed by Nivoda USA LLC. (Attachments: # 1 Exhibit Exhibit A to Young
                               Decl. − Rapaport Price List, # 2 Exhibit Exhibit B to Young Decl. − Rapaport
                               Magazine, # 3 Exhibit Exhibit C to Young Decl. − Pages from additional Rapaport
                               Magazines, # 4 Exhibit Exhibit D to Young Decl. − Nivoda web site home page, # 5
                               Exhibit Exhibit E to Young Decl. − listing from Nivoda web site).(Leish, Matthew)
                               (Entered: 03/04/2025)
               03/04/2025   25 DECLARATION of Matthew A. Leish in Support re: 22 MOTION to Dismiss ..
                               Document filed by Nivoda USA LLC. (Attachments: # 1 Exhibit A − Complaint, # 2
                               Exhibit B − Copyright Registration Search Results).(Leish, Matthew) (Entered:
                               03/04/2025)
               03/06/2025   26 DECLARATION of Matthew A. Leish in Support re: 22 MOTION to Dismiss ..
                               Document filed by Nivoda USA LLC. (Attachments: # 1 Exhibit 1 Part A − Deposit
                               copy for registration TX9428011, # 2 Exhibit 1 Part B, # 3 Exhibit 1 Part C, # 4
                               Exhibit 2 − Deposit copy for registration TX9432525, # 5 Exhibit 3 − Deposit copy for
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                                registration TX9431797, # 6 Exhibit 4 Part A − Deposit copy for registration
                                TX9400960, # 7 Exhibit 4 Part B, # 8 Exhibit 4 Part C, # 9 Exhibit 5 Part A − Deposit
                                copy for registration TX9400949, # 10 Exhibit 5 Part B, # 11 Exhibit 6 Part A −
                                Deposit copy for registration TX9412028, # 12 Exhibit 6 Part B, # 13 Exhibit 7 Part A
                                − Deposit copy for registration TX9382702, # 14 Exhibit 7 Part B, # 15 Exhibit 8 Part
                                A − Deposit copy for registration TX9140923, # 16 Exhibit 8 Part B, # 17 Exhibit 8
                                Part C).(Leish, Matthew) (Entered: 03/06/2025)
               03/12/2025   27 TRANSCRIPT of Proceedings re: CONFERENCE held on 2/5/2025 before Judge Jed
                               S. Rakoff. Court Reporter/Transcriber: Eve Giniger, (212) 805−0300. Transcript may
                               be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 4/2/2025.
                               Redacted Transcript Deadline set for 4/14/2025. Release of Transcript Restriction set
                               for 6/10/2025..(McGuirk, Kelly) (Entered: 03/12/2025)
               03/12/2025   28 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 2/5/2025 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 03/12/2025)
               03/20/2025       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                held on 3/20/2025without transcription or recording. Counsel for all parties was
                                present. Defendants unopposed application to file a supplemental declaration regarding
                                ECF No. 24 is granted on consent. However, plaintiff retains the right to raise
                                arguments concerning the permissibility of all of defendants declarations and
                                corresponding exhibits. SO ORDERED.. (Kotowski, Linda) (Entered: 03/21/2025)
               03/21/2025   29 DECLARATION of Jessica Young in Support re: 22 MOTION to Dismiss ..
                               Document filed by Nivoda USA LLC. (Attachments: # 1 Exhibit Exhibit A −
                               screenshot of price calculator).(Leish, Matthew) (Entered: 03/21/2025)
               03/25/2025   30 MEMORANDUM OF LAW in Opposition re: 22 MOTION to Dismiss . . Document
                               filed by Rapaport USA, Inc...(Greenberger, Jordan) (Entered: 03/25/2025)
               04/01/2025   31 REPLY MEMORANDUM OF LAW in Support re: 22 MOTION to Dismiss . .
                               Document filed by Nivoda USA LLC..(Leish, Matthew) (Entered: 04/01/2025)
               04/07/2025       Minute Entry for proceedings held before Judge Jed S. Rakoff: Oral Argument held on
                                4/7/2025 re: 22 MOTION to Dismiss . filed by Nivoda USA LLC. (Kotowski, Linda)
                                (Entered: 04/18/2025)
               04/10/2025   32 ORDER granting 22 Motion to Dismiss. After careful consideration, the Court grants
                               the motion with prejudice. An Opinion explaining the reasons for this ruling will issue
                               in due course, after which final judgment will be entered. SO ORDERED.. (Signed by
                               Judge Jed S. Rakoff on 4/10/2025) (ks) (Entered: 04/10/2025)
               04/25/2025   33 NOTICE OF APPEAL from 32 Order on Motion to Dismiss. Document filed by
                               Rapaport USA, Inc.. Filing fee $ 605.00, receipt number ANYSDC−30986562. Form
                               C and Form D are due within 14 days to the Court of Appeals, Second
                               Circuit..(Greenberger, Jordan) (Entered: 04/25/2025)
               04/25/2025       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                                Appeals re: 33 Notice of Appeal. (tp) (Entered: 04/25/2025)
               04/25/2025       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                Electronic Files for 33 Notice of Appeal, filed by Rapaport USA, Inc. were transmitted
                                to the U.S. Court of Appeals. (tp) (Entered: 04/25/2025)
